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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                              Chapter 7

ALEX JONES,                                         Case No. 22-33553

                Debtor.


                          TRUSTEE’S WITNESS AND EXHIBIT LIST
                          FOR THURSDAY, JUNE 27, 2024, HEARING

       Christopher R. Murray in his capacity as Chapter 7 Trustee (the “Trustee”) for the
bankruptcy estate of Alexander Jones (“Alex Jones”) files this Witness and Exhibit List for the
hearing to be held on Thursday, June 27, 2024, at 9:00 a.m. (prevailing Central Time) before the
Honorable Christopher Lopez at the United States Bankruptcy Court for the Southern District of
Texas, Courtroom 401, 515 Rusk Street, Houston, Texas 77002.

                                           EXHIBITS


                                                          M     O   O   A    D
                                                                                  Disposition
                                                          A     F   B   D    A
     No.       Description                                                        After Trial
                                                          R     F   J   M    T
               Order Dismissing Free Speech Systems
         1.
               LLC chapter 11 bankruptcy case

               Trustee’s Emergency Motion to (1)
               Clarify Transfer of Control and Signing
               Authority with Respect to Debtor’s Bank
               Accounts, (2) for an Order Extending
         2.
               Automatic Stay in the Alex Jones Case to
               Free Speech Systems LLC, and (3)
               Related Relief (inclusive of exhibits
               thereto) [Dkt. No. 720]
               Plaintiffs’ Application for Turnover
               Order regarding Neil Heslin and Scarlett
               Lewis v. Alex E. Jones and Free Speech
         3.    Systems, LLC, Cause No. D-1-GN-18-
               001835, 261st Judicial District Court of
               Travis County, Texas (inclusive of
               exhibits thereto)


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                                                           M   O   O   A   D
                                                                               Disposition
                                                           A   F   B   D   A
     No.       Description                                                     After Trial
                                                           R   F   J   M   T
               State Court Order regarding Plaintiffs’
               Application for Turnover Order
               concerning Neil Heslin and Scarlett
       4.      Lewis v. Alex E. Jones and Free Speech
               Systems, LLC, Cause No. D-1-GN-18-
               001835, 261st Judicial District Court of
               Travis County, Texas
               Plaintiffs’ Application for Post-
               Judgment      Writ    of   Garnishment
               regarding Neil Heslin and Scarlett Lewis
               v. Alex E. Jones and Free Speech
       5.
               Systems, LLC, Cause No. D-1-GN-18-
               001835, 261st Judicial District Court of
               Travis County, Texas (inclusive of
               exhibits thereto)
               Connecticut Families’ Statement in
               Support of the Trustee’s Emergency
       6.
               Motion (inclusive of exhibits thereto)
               [Dkt. No. 725]
               The Texas Plaintiffs’ Response to the
               Jones Chapter 7 Trustee’s Emergency
       7.
               Motion (inclusive of exhibits thereto)
               [Dkt. No. 726]
               Notice of Removal regarding Neil
               Heslin and Scarlett Lewis v. Alex E.
               Jones and Free Speech Systems, LLC,
       8.
               Cause No. D-1-GN-18-001835, 261st
               Judicial District Court of Travis County,
               Texas (inclusive of exhibits thereto)


               June 21, 2024, Emails with Texas State
       9.      Court Coordinator regarding Plaintiffs’
               Application for Turnover Order




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                                                          M    O     O     A    D
                                                                                    Disposition
                                                          A    F     B     D    A
     No.       Description                                                          After Trial
                                                          R    F     J     M    T
               Notice of Removal regarding Neil
               Heslin and Scarlett Lewis v. Cadence
               Bank and Alex E. Jones and Free
       10.     Speech Systems, LLC, Cause No. D-1-
               GN-24-003882, 200th Judicial District
               Court of Travis County, Texas
               (inclusive of exhibits thereto)
               Any pleading or other document filed
       11.     with the Court on the docket of the
               above-captioned chapter 7 case

               Any exhibit necessary to rebut the
       12.     evidence or testimony of any witness
               offered or designated by any other party
       13.     Any exhibit listed by any other party


                                          WITNESSES

       1.       Christopher R. Murray, Trustee for the Alex Jones bankruptcy estate
       2.       Any witness listed by any other party.

       The Trustee reserves the right to amend and/or supplement this Witness and Exhibit List

as necessary in advance of the Hearing. The Trustee also reserves the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

the Trustee reserves the right to introduce any previously admitted exhibit.

Dated: June 26, 2024.

                                                 Respectfully submitted,
                                                 PORTER HEDGES LLP

                                                 By: /s/ Joshua W. Wolfshohl
                                                 Joshua W. Wolfshohl
                                                 Texas Bar No. 24038592
                                                 1000 Main Street, 36th Floor
                                                 Houston, Texas 77002
                                                 Telephone: (713) 226-6000


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                                                jwolfshohl@porterhedges.com

                                                AND



                                                /s/ Erin E. Jones
                                                Erin E. Jones
                                                Texas Bar No. 24032478
                                                Jones Murray LLP
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                                                Houston, Tx 77007
                                                Telephone 832-529-1999
                                                erin@jonesmurray.com


                                                COUNSEL TO
                                                CHRISTOPHER R. MURRAY,
                                                CHAPTER 7 TRUSTEE



                               CERTIFICATE OF SERVICE

       I certify that on June 26, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System in the United States Bankruptcy Court for the Southern District
of Texas.


                                                    /s/ Joshua W. Wolfshohl
                                                    Joshua W. Wolfshohl




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